Case 1:08-cv-O00090-LG-RHW Document 211-5 Filed 12/14/09 Page 1of 26

Exhibit D
Case 1:08-cv-00090-LG-RHW Document 211-5 Filed 12/14/09 Page 2 of 26

Case 1:06-cv-00912-LG-JMR Document 212-17 Filed 12/10/20
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI |

SOUTHERN DIVISION

BY.

UNITED STATES OF AMERICA

v. 2 [OTe JO
)

DANIEL LAMONT EVANS
PLEA AGREEMENT
Daniel Lamont Evans, the Defendant, and his attorney, Cecil Woods, have been notified
that:
1. Defendants Obligations

If the Defendant waives indictment and tenders a plea of guilty to a one count ctiminal
information to be filed in this case, charging his with the felony ctime of Conspiracy to Deprive Rights
Under Color of Law, in violation of 18 U.S.C, § 241, and if he fully cooperates with federal and state
law enforcement, as well as, the Criminal Section of the United States Department of Justice, Civil
Rights Division and the United States Attorney for the Southern District of Mississippi
(“Government”) and with the District Attorney for the Second Circuit Court District of Mississippi
(“District Attorney”), as set out in patagraphs 9 and 10.

2. ' Government’s Obligations .
a) Thereafter, the Government will recommend that the Court: @ accept the
. Defendant’s plea of guilty; @) tecommend that the Court impose a sentence within
the lower 50% of the applicable Sentencing Guidelines range as computed by the
Court; and (ii) inform the United States Probation Office and the Court of this
Agreement, the nature and extent of Defendant's activities with respect to this case
and all other activities of Defendant which the Government deems relevant to

sentencing, including the nature and extent of Defendant's cooperation with the
Government.

b) Following the acceptance of the Defendant’s plea of guilty, the Government will
dismiss Defendant Evans from the Superseding Indictment in criminal case number
1:06cr79 currently pending before this Court. .

c) The Defendant has timely notified the Government of his intent to enter a plea of
guilty, If the Defendant qualifies for a decrease under U.S.S.G. § 3E1.1(a), and if the
Defendant’s offense level determined prior to the operation of U.S.S.G. § 3E1.1(a) is
a level 16 or greater, the Govetnment will move fot an additional one-level decrease

"in the guidelines in accordance with U.S.S.G. § 3E1.1(6).

d) Should the Government determine that Defendant has provided substantial
assistance to law enforcement officials in an investigation ot prosecution, and has
fully complied with the understandings specified in this Agreement, then the
Government may submit motion, Duis aaa O United States Sentencing Guidelines

“i PEENCAD-Bayonn, HAE

Case 1:08-cv-O0090-LG-RHW Document 211-5 Filed 12/14/09 Page 3 of 26
Case 1:06-cv-00912-LG-JMR Document 212-17 Filed 12/10/2008 Page 2 of7

(U.S.S.G.”) § 5K1.1 (and Title 18, United States Code, Section 3553(e), if
applicable), requesting that the Court sentence Defendant in light of the factots set
forth in U.S.S.G. § 5K1.1(a)(1)-G). The determination as to whether Defendant has
provided such substantial assistance shall rest solely with the Government. Should
any investigation in which Defendant offers information be incomplete at the time
of his sentencing, the Government may, in liew of a downward departure at
sentencing, move for a reduction in sentence pursuant to Rule 35 of the Federal
Rules of Criminal Procedure at such time as the cooperation is complete. It is
understood that, even if such a motion is filed, the sentence to be imposed on
Defendant temains within the sole discretion of the Court.

3. Count of Conviction
It is understood that, as of the date of this Plea Agreement, the Defendant and his attorney
have indicated that the Defendant desixes to plead guilty to Count One of the Information.

4, Sentence
The Defendant understands that the penalty for the offense charged in Count 1 of the
Information, charging a violation of Title 18, United States Code, Section 241, is a term of
imptisonment not to exceed ten (10) years; a term of supervised release of not less than three (3)
years; and a fine of up to $250,000. The Defendant further understands that a term of supervised
release will be imposed and that the term will be in addition to any prison sentence he receives;
further, if any of the terms of supervised release ate violated, the Defendant can be returned to
prison for the entire term of supervised release, without credit for any time already served on the
term of supervised release ptiot to the Defendant’s violation of those conditions. It is further
understood that the Court may tequite the Defendant to pay restitution in this matter in accordance
with applicable law. The Defendant further understands that he is liable to make restitution for the
. full amount of the loss determined by the Court to constitute relevant conduct, which is not limited
to the count of conviction.

5. Stipulation

The Defendant will plead guilty because he is in fact guilty of the charge contained in Count
One of the Information. In pleading guilty, the Defendant admits and stipulates to the following
facts that establish his guilt beyond a reasonable doubt:

Daniel Lamont Evans a Hattison County Sheriff's Department Corrections Officer who
wotked the Harrison County Adult Detention Center (“Jail”). Evans worked at the Jail from on or
about September 15, 2003 to May 15, 2006. Evans worked in the Jail’s Booking area from in or
about summer 2004 through May 15, 2006. While assigned to the Booking area, Evans was under
the supervision of Captain James Ricky Gaston.

While he was employed at the Jail and acting under color of law, Evans conspited with other
employees at the Jail, also acting under color of law, to injure, threaten, and intimidate inmates at the
Jail by willfully using excessive and unnecessaty physical force against those inmates. The
conspiracy began on a date uncertain before Septermbet 2003, and continued through at least January
28, 2006. Evans did not participate in the conspiracy after January 28, 2006.
Case 1:08-cv-00090-LG-RHW Document 211-5 Filed 12/14/09 Page 4 of 26

age TUE SUOUS PLE IRC ORT eT REIT CEUs ar bigtibe page Sore.

vans an ers assau. thinates, phy. “Bag Fo¥ce was
unnecessary, unteasonable, and unjustified.

During the conspiracy, Evans participated in several assaults against inmates. On or about
February 13, 2005, Evans and another correctional officer assaulted inmate J.C. by using O.C. spray
without justification,

Evans observed co-conspitators and other cottections officers participate in numerous
additional assaults against inmates at the Jail. Evans also heard co-conspirators and other
cottections officers boasting about their participation in willful and intentional uses of excessive
force.

In addition, Evans conspited with other officers to conceal these instances of physical abuse
of inmates, Evans, co-conspirators, and other cortections officers attempted to, and did in fact,
conceal their abusive conduct by failing to document their excessive uses of force, and by giving
false statements and wtiting false, vague, and misleading reports.

The information contained in this Stipulation is provided solely to assist the Court in
determining whether a factual basis exists for the Defendant’s plea of guilty. The Stipulation does
not contain evety fact known to the Defendant and to the Government concerning the Defendant's
and/or other’s involvement in the offense conduct and other matters.

6. Borfeitures
None.

7. This Plea Agreement does NOT Bind the Court

Tt is farther understood that the Coutt, in accord with the principles of Rules 11(c)(1)(B) of
the Federal Rules of Criminal Procedure, is not requited to accept the recommendation of the
Government, but may sentence the Defendant to the maximum fine and imprisonment as provided

by law, and the Government has no other obligation in regard to sentencing than as stated in
patagraph 2.

8. Determination of Sentencing Guidelines

It is further understood that the United States Sentencing Guidelines are advisory and that
the Defendant and the Defendant’s attorney have discussed the fact that the Court must review the
Guidelines in reaching a decision as to the appropriate sentence in this case, but the Court may
impose a sentence other than that indicated by the Guidelines if the Court finds that another
sentence would be more apptoptiate. The Defendant acknowledges that he is not relying upon
anyone’s calculation of a particular Guidelines range for the offense to which he is entering his plea,

and recognizes that the Court will make the final determination of the sentence and that he may be
sentenced up to the maximum penalties set forth above.

9. Willingness to Cooperate

It is further understood and specifically acknowledged by the Defendant that the
consideration for the action taken by the Government herein is the Defendant’s representation, by
execution of this Plea Agreement and otherwise, that the Defendant both can and will carry out the
terms and conditions contained herein.
Case 1:08-cv-00090-LG-RHW Document 211-5 Filed 12/14/09 Page5 of 26

10. Terms of Cooperation
Case ji Upreuc00d eeaGsd MR ealbompnenb)s terlfed _FgLAgLAGI200Bc!R00e 4 of 7
a) immediate and truthful disclosure of all matters involved in this charge to the
appropriate federal and state agents;
b) truthful and complete disclosure of other matters involving possible violations of
federal law to the appropriate federal or state agency as directed by the Government;
c) truthful testimony at any trial involving any matter arising from these charges, in
federal or state court,
d) truthful testimony before any Grand Jury or at any ttial in this or any other district

on any matter about which the Defendant has snowledge and which is deemed
pertinent to the Government,

e) full and truthful cooperation with the Government, with any law enforcement
agency designated by the Government, and/or the District Attorney’s office; *

f) attendance at all meetings at which the U.S. Attorney or the District Attorney
requests his presence;

g) provision to the Government, upon request, of any document, record, or other

tangible evidence relating to matters about which the Government, any designated
law enforcement agency, and/or the District Attorney inquites of him; and
h) an obligation on the part of the Defendant to commit no further crimes whatsoever.

11. Limits on Further Prosecution

It is further understood that the Governinent and the District Attorney will seek no further
criminal prosecution of the Defendant for any acts ot conduct by the Defendant as of the date of
this Agreement, arising out of any event coveted by the Information referenced in paragraph 1, if
the Defendant voluntarily, truthfully, and completely discloses all information and knowledge that
the Defendant possesses. Should the Defendant not voluntarily and completely disclose, then as to
that matter, the Government and/or the District Attorney is free to seek prosecution of the

Defendant. This Plea Agreement does not provide any protection against prosecution for any
ctimes except as set forth above.

12. Breach of this Agreement

It is further understood that should the Defendant fail or refuse as to any patt of this Plea
Agreement or commit any other crimes, the representations by the United States or the District
Attorney in patagraphs 2 and 11 above are rescinded, and the Defendant’s breach shall be
considered sufficient grounds for the pursuit of any prosecutions that the Government or the
District Attorney has not sought as a result of this Plea Agreement, including any such prosecutions
that might have been dismissed or otherwise batred by the Double Jeopardy Clause.

If the Defendant fails to fulfill his obligations under this Plea Agreement, the United States
may seek release from any or all obligations under this Plea Agreement. If the Defendant fails to
fulfill his obligations under this Plea Agreement, the Defendant shall assert no claam under the
United States Constitution, any statute, Rule 410 of the Federal Rules of Evidence, Rule 11(e)(6) of
the Federal Rules of Criminal Procedure, or any other federal tule, that the Defendant’s statements
pursuant to this Plea Agreement or any leads derived therefore, should be suppressed or are
inadmissible. Whether the Defendant has breached any provision of this Plea Agreement, if
contested by the parties, shall be determined by the Court in an appropriate proceeding at which the
Defendant’s disclosures and documentary evidence shall be admissible and at which the United.
Case 1:08-cv-00090-LG-RHW Document 211-5 Filed 12/14/09 Page 6 of 26

Suess shalbBecEeBUT ECM “Dastincnt Phat? “SHEETS RBOE” Page's oP
13. Binding Effect on this Federal District or Upon the District Attorney

It is further understood that this Plea Agreement does not bind any other state ot local
prosecuting authorities or any other federal district, except as otherwise provided herein; further,
this Plea Agreement does not bind the Attorney General of the United States in regard to any
matter, civil or criminal, involving the tax statutes of the United States.

14. Financial Obligations

It is further understood and specifically agreed to by the Defendant that, at the time of the
execution of this document or at the time his plea is entered, the Defendant will then and thete pay
over the special assessment of $100.00 per count required by Title 18, United States Code, § 3013, to

- the Office of the United States District Court Clerk; the Defendant shall thereafter produce proof of

payment to the Government or to the U.S. Probation Office. If the Defendant is adjudged to be
indigent, payment of the special assessment at the time of the plea is waived, but the Defendant
agrees that it may be made payable first from any funds available to the Defendant while he is
incarcerated, The Defendant understands and agrees that, pursuant to Title 18, United States Code,
§ 3613, whatever monetary penalties are imposed by the Court will be due and payable immediately
and subject to immediate enforcement by the United States as provided in § 3613. Furthermote, the
Defendant agrees to ptovide all of his financial information to the United States and the Probation
Office and, if requested, to participate in a pte-sentencing debtor’s examination. If the Court
imposes a schedule of payments, the Defendant understands that the schedule of payments is merely
a minimum schedule of payments and not the only method, nor a limitation upon the methods,
available to the United States to enforce the judgment. If the Defendant is incarcerated, the
Defendant agrees to participate in the Bureau of Prisons’ Inmate Financial Responsibility Program
regardless of whether the Court specifically directs his participation or imposes a schedule of
payments,

15. Further Crimes
It is further understood that should the Defendant commit any further crimes, this Plea ~
Agteement shall be deemed violated and he.shall be subject to prosecution for any federal or state

criminal violation of which the Government has knowledge, and that any information provided by
him may be used against him. . :

16. Waivers oO

The Defendant, knowing and understanding all of the matters aforesaid, including the
maximum possible penalty that could be imposed, and being advised of his tights to remain silent, to
a ttial by jury, to subpoena witnesses on his own behalf, to confront any witnesses against him, and
to appeal his conviction and sentence, in exchange for the recommendations and concessions made

by the Government or the District Attorney in this Plea Agreement, hereby expressly waives the
above rights and the following:

a. The right to appeal the conviction and sentence imposed in this case, or the mannet
in which that sentence was imposed, on the grounds set forth in Title 18, United
States Code, § 3742, on any ground, provided the sentence does not exceed the
maximum sentence allowed by the statute; and
Case 1:08-cv-O00090-LG-RHW Document 211-5 Filed 12/14/09 Page 7 of 26

- _b., .. The tight to, cantest the convictic a sentence, or net in which the
Case | 06-Gy-0de Le IIR Boe ment Alec on Elec 2/T5/2BOR be Ge tcalels
to a motion brought under Title 28, United States Code, § 2255, and any type of

‘ ptoceeding claiming to double jeopardy ot excessive penalty as a result of any
forfeiture ordered or to be ordered in this case; and

c. Any tight to seek attorney’s fees and/or costs under the Hyde Amendment, as codified
at Title 18, United States Code, § 306A, and the Defendant acknowledges that the
Government’s position in the instant prosecution is not merely frivolous, vexations,
ot undertaken in bad faith; and .

d. All rights, whether asserted directly or through a representative, to request or receive
any department or agency of the United States any tecords pertaining to the
investigation or ptosecution of this case, including without limitation any records
that may be sought by him or his reptesentative under the Freedom of Information
Act, set forth at Title 5, United States Code, § 552, ot the Privacy Act of 1974, at
Title 5, United States Code, § 552a,

e. The Defendant further acknowledges and agrees that any factual issues regarding his

- sentencing will be resolved by the sentencing judge under a preponderance of the

evidence standard, and the Defendant waives any right to a juty determination of

these sentencing issues. The Defendant further agrees that, in making its sentencing

decision, the District Court may consider any relevant evidence without regard to its
admissibility under the Rules of Evidence applicable at trial.

The Defendant waives these tights in exchange for the recommendation and
concessions made by the Government and the District Attorney in this Plea
Agreement.

17. Future Contact with the Defendant

The Defendant and his attorney acknowledge that if forfeiture, restitution, a fine, or special
assessment, or any combination of these is ordered in the Defendant’s case, that this will require
regular contact with the Defendant duting any petiod of incarceration, probation, and supervised
release. Further, the Defendant and his attorney understand that it is essential that defense counsel
contact the Financial Litigation Unit of the Government immediately after sentencing in this case to
confirm in writing whether defense counsel will continue to represent the Defendant in this case and
in matters involving the collection of the financial obligations imposed by the Court. If the
Government does not teceive any written acknowledgment from defense counsel within two weeks
of entry of judgment in this case, the Government will presume that defense counsel no longer
represents the Defendant and the Financial Litigation Unit will communicate directly with the
Defendant regarding collection of the financial obligations imposed by the Court. The Defendant
and his attorney understand and agree that such direct contact with the Defendant shall not be
deemed an improper ex parte contact with the Defendant if defense counsel fails to notify the

Government of any continued legal representation within two weeks after the date of entry of the
judgment in this case.

Page 8 of 26

Filed 12/14/09

Case 1:08-cv-00090-LG-RHW Document 211-5

JOTASTCT FIMLOT) FIAT) PUOIVS
Asur0Hny }OTISIC,
avd eUUeIE) OOD

WOHSIG [BUMLUTID “WOISTAIC] SHYSRY [EAT
. Jaye, SJuEepuayeac] AsUIOWY TRL
OG27Z xq “IS ‘SUeAr SIMO] SETIOL_T, aed. puourpony woy0> uyol[

oe Oe. - “7 LORETE =
\ CV

wonseg [era ‘worspagcf sq TAI
yoepusjeq Foy foujony jesunos7 ae qeroeds
Lo [gr/2 aq |] “bsix ‘spoogy “5 19D wed \) Cassy W esl
YROROMNECID Px TAT"
CY

Aaurony se1e1g paid yuRsissy

| Aq

) Js / yoepueyacy faurony se183g peHay
o/§ .
/ 1, eyed _ eG cordon] sand]

sINVO. AC HAE SLNHNNYAAOS FHL YOs

2002 * Aqn{ wo mojeq WFOF Jes se “SHAN LVNOIS UNO SSHNIIM

WIH AP GHLdHOOV UNV O.L GHHYDV
pue WIH AG GA,.LdHOOV ATIYVLNOTIOA
‘WIH AG COO LSYHONOD

‘ASNYO.LLV SIH Ad WIH OL CGANIVTdxa
‘WIH Ad UO OL CVA

ai oo

U93q VAL JUIUTIOISY vIpq SM} JO swIs} stp Jey} sIVpOep Asarony sty pus yaepusyeqy eq T,

‘yuepueTeCd
at pue ‘Aourony PMsiql sty JueuruTeAoy) oy} Su0ure pus hq apEt suUOnTIpuOS puE ‘sitratiraarse

10 SE WeREB ERAN? ABCA buits gr? VAP-SE

JOSTIV ST

<=”

Case 1:08-cv-00090-LG-RHW Document 211-5 Filed 12/14/09 Page 9 of 26
Case 1:06-cv-00912-LG—-tMR—Beoeument342-40— Fitted $246 20 0 Smiter

Case 1:06-cr-00117-LG-JMR Document 7*SEALED*: Filed 12/07/2006 Page i of 7

UNITED STATES DISTRICT COURT ,
SOUTHERN DISTRICT OF MISSISSIPPI

JACKSON DIVISION

UNITED STATES OF AMERICA _—+*);

. ) . .
v. : ) uhh .

DEDRI YULON CALDWELL ) OLE" LG

‘PLEA AGREEMENT _

Dedti Yulon Caldwell, the Defendant, and her attorney, Robert G. ‘Harenski, have been
notified that: .

1, _ Defendants Ob ligations

If the Defendant waives indictment and tenders a plea of guilty to a one count criminal
infotmation to be filed in this case, chatging her with the felony crime of Conspdracy to. Deprive Rights
Under Color of Law, in violation of 18 U.S:C. § 241, and if she fully cooperates with federal and state
law enforcement, as well as, the Criminal Section of the U.S. Department of Justice, Civil Rights
Division and the United States Attorney fot the Southern District of Mississippi (“Government”)
and with the District Attorney for the Second Circuit Coutt District of Mississippi (“ District
‘Attomey’ ”), as set out in patagtaphs 9 and 10,

2. Government’s Obligations .

a) - Thereafter, the Government will recommend that the Court (@) accept the
Defendant's plea of guilty; and (u) inform the United States Probation Office and the _
Coust of this Agreement, the natute and extent of Defendant's activities with respect
to this case and all other activities of Defendant which the Government deems
televant to sentencing, including the natute and extent of Defendant's cooperation
with the Government.

b) The Defendant has timely notifted the Government of her intext to enter a plea of
guilty. If the Defendant qualifies for a dectease under U.S.S.G. § 31.1 (a), and if the
Defendant’s offense level determined prior to the operation of U.S.5.G. § 3B 1,1 (a) is
a level 16 or greater, the Government will move for an additional one-level decrease
in the guidelines in accordance with U.S.S.G. § 3E1.1(b).

c) Should the: Government determine that’ Defendant has ptovided substantial -

assistance to law enforcement officials in an investigation or prosecution, and has
fully complied with the undetstandings specified in this Agreement,. then the
government may submit a motion pursuant to United States Sentencing Guidelines
(U.S.S.G.") § 51.1 (and Title 18, United States Code, Section: 3553(e), if
applicable), requesting that the Court sentence Defendant in light of the factors set -
forth in U.S.8.G, § 51. 1(a)(1)- (5). The determination as to whether Defendant has |
provided such substantial assistance shall rest solely with the Government. “Should

Mx
me
=
fe
A
2
ge

— Case 1:08-cv-00090-LG-RHW_ Document 211-5 Filed 12/14/09 Page 10 of 26
Case 1:06-cv-00912-LG-JMR_ Document 212-19 Filed 12/10/2008 Page 2 of 7

"Case 1:06-cr-00117-LG-JMR ‘Document 7 *SEALED* Filed 12/07/2006 Page 2 of 7

any investigation in which Defendant offers information be incomplete at the time
of her sentencing, the Government may, in lien of a downward departure at
sentencing, move for a reduction in sentence pursuant to Rule 35 of the Federal
Rules of Criminal Procedute at such timé as the cooperation is complete. It is.
understood that, even if such 4 motion-is filed, the sentence to be imposed on
Defendant temains within the sole discretion of the Court.

3. Count of Conviction

it is understood that, as of the date of this Plea Agreement, the Defendant and her attorney
have indicated that the Defendant desires to plead guilty to Count One of the Information.

4, Sentence

_ The Defendant understands that the penalty for the offense charged in Count 1 -of the
Information, charging a violation of Title 18, United States Codé, Section 241, is a tetm of -
imprisontnent not to exceed ten (10) years; a term of supervised telease of not less than three (3) | ,
years; and a fine of-up to $250,000,, The Defendant further understands that a term of supervised
telease will be imposed and that the tetm will be in addition to any prison sentence she teceives;
farther, if any of the terms of supervised release are violated, the Defendant can be retutned to
ptison for the entite term of supervised release, without credit fot any time already served ‘on the
term of supervised release prior to the Defendant’s violation of those conditions. It is further °
understood that the Court may require the Defendant to pay restitution in, this rnatter in accordance
with applicable‘law. The Defendant further understands that she is liable to make restitution for the
full amount of the loss ‘determined by the Court to constitute televant conduct, which i is not Hmited
to the count of conviction.

5. Stipulation

‘The Defendant will plead guilty because she is in fact guilty of the charge contained in Count
- One of the Information. In pleading guilty, the Defendant admits and stipulates to the following
facts t that establish her guilt beyond a reasonable doubt:

Dedti Yulon Caldwell is a fotmer Haxtison County Sheriff's Department Cottections Officer
who worked the Harrison County Adult Detention Center (“Jail”), Caldwell worked:at the Jail from
on ot about April 23, 2001, through on ot about December 21, 2005. Caldwell was eventually
promoted to the rank of Sergeant on October 25, 2004.

While she was employed at the Jail and acting under color of law, Caldwell conspired with
other employees.at the Jail, also a acting under color of law, to injure, threaten, and intimidate inmates
at the Jail by willfully using excessive and unnecessary physical force against those inmates. The
conspiracy began on a date uncertain before April 23, 2001, and continued through at least
December 21, 2005.

- Caldwell and het co-conspirators engaged in a pattern of conduct that included, but was not
limited to, Caldwell and other officers striking, punching, kicking, choking, and otherwise assaulting
inmates, knowing that the physital force was unnecessary, unreasonable, and unjustified,

Case 1:08-cv-00090-LG-RHW Document 211-5 Filed 12/14/09 Page 11 of 26

Case 1:06-cv-00912-LG-JMR Documént 212-19 Filed 12/10/2008 Page 3ot/
Case 1:06-cr-00117-LG-JMR Document 7 *SEALED* Filed 12/07/2006 _ Page 3 of 7

During the conspiracy, Caldwell participated in over one hundred assaults against inmates.
As a Sergeant, Caldwell occasionally recruited and directed other corrections officers to patticipate
in these assaults. Caldwell observed co-conspirators and other cortections officers participate in
over one hundred additional assaults against inmates at-the Jail, Caldwell also heard co-conspirators

and other corrections officers boasting about their participation in willful and intentional uses of
excessive force.

In addition, Caldwell conspired with other officets to conceal these instances of physical
abuse of inmates. Caldwell, co-conspirators, and other cortections officers attempted to, and did in
fact, conceal their abusive conduct by failing to document their excessive uses of force, ‘and by
giving false statements and writing false, vague, and misleading reports.

- ‘The information: contained in this Stipulation is provided solely ‘to assist the Court in
determining whether a factual basis exists for the Defendant’s plea of guilty. The Stipilation does
not contain every fact known to the Defendant and to the Government concerning’ the Defendant $

. and/or other’s involvement 4 in the offense conduct and other matters.

6, Forfeitures

None.

1 This Plea Agreement does NOT Bind the Court

oy It is further understood that the.Court, in accord with the principles of Rules 11( c)(1)() of
“ the Federal Rules of Criminal Procedure, is not tequired to accept the recommendation of the
Government, but may sentence the Defendant to the maximum fine and imprisonment as provided

- by law, and the Government has no other obligation in, tegatd to sentencing than as ‘stated in
paragraph 2,

8. - Determination of Sentencing Guidelines

Tt is further understood that the United States Sentencing Guidelines are advisory and that
the Defendant and the Defendant’s attorney have discussed the fact that the Court taust review the
Guidelines in reaching a decision as to the appropriate sentence in this case, but the Coutt may
impose a sentence other than that indicated by the Guidelines if the Coutt finds -that another .
sentence would be more appropriate, The Defendant acknowledges that she is not relying upon -.
anyone’s calculation of a particular Guidelines range for the offense to which she is entering her
plea, and recognizes that the Court will make the final determination of the sentence and that she
may be sentenced up to the maxitoum penalties set forth above.

9, Willingness to Coopetate

It is further understood and specifically acknowledged by the Defendant that the

consideration for the action taken by the Government herein is the Defendant’s' representation, by

_ execution of this Plea Agreement and otherwise, that the Defendant both can and will carry out the
terms and conditions contained herein,

10. Terms of Cooperation

Case 1:08-cv-00090-LG-RHW Document 211-5 Filed 12/14/09 Page 12 of 26

Case 1:06-cv-00912-LG-JMR . Document 212-19 Filed 12/10/2008 Page of 7
Case 1:06-cr-00117-LG-JMR . Document 7*SEALED* Filed 12/07/2006 Page 4 of 7.

It is further understood that full cooperation referred to in paragraph 1 includes:

a) immediate and truthful disclosure of all matters involved’ in this charge to the
appropriate federal and state agents;

b) truthful and complete disclosure of other matters involving possible violations ‘of
federal law to the appropriate federal or state agency as directed by the Government,

c) truthful testimony at any trial involving any matter atising from thése chatges, in
federal or state court;

a) truthful testimony before any Grand Jury ot at any trial in this or any other district

on any matter about which the Defendant has knowledge and which is deemed
pertinent to the Government;

e) full and truthful cooperation with the Government, with any law enforcement
agency designated by the Government, and/or the District Attorney’s. office;

f) . attendance at all meetings at which the U.S. Attorney or the District Attorney
tequests het presence;

(2) provision to the Government, upon request, of any document, record, or other -

tangible evidence relating to matters about which the Government, any designated
law enforcement agency, and/or the District Attomey inquires of her; and
(b) an obligation on the patt of the Defendant to commit no further crimes whatsoever.

1. Limits on Further Prosecution —

It is further understood that the Government and the District Attorney will seek no further-
criminal prosecution of the Defendant for any acts or conduct by the Defendant as of the date of .
this Agreement, atising out of any event covered by the.Information referenced in ‘paragraph 1, if
the Defendant voluntarily, truthfully, and completely discloses all information and knowledge that
the Defendant possesses. Should the Defendant not voluntarily and completely disclose, then as to
that matter, the Government and/or the District Attorney is free to’ seek prosecution of the
Defendant. -This Plea: Agreement does not provide any protection against prosecution for any

’ crimes except as set forth above.

12, Be ach of this eement

It is further understood that should the Defendant fail or refuse as to any part of this Plea .
, Agteement ot commit any other crimes, the representations by the United States or the District
Attorney in paragraphs 2 and 11 above are rescinded, and the Defendant’s breach shall be
considered sufficient grounds: for the putsuit of any prosecutions that the Govertiment or the
District Attorney has not sought as a result of this Plea Agreement, including any such prosecutions:
that might have been dismissed or otherwise barred by the Double Jeopardy Clause,

If the Defendant fails to fulfill her obligations under this Plea Agreement, the United States

may seek release from any or all obligations undet this Plea Agreement. If the Defendant fails to

fulfill her obligations under this Plea Agreement, the Defendant shall assert no claim under the
United States Constitution, any statute, Rule 410 of the Federal Rules of Evidence, Rule 11(e)(6) of

the Federal Rules of Criminal Proceduxe, or any other federal mle, that the Defendant’s statements

pursuant to this Plea Agreement or any leads derived therefore, should be supptessed or are

inadmissible, Whether the Defendant’ has breached any provision of this Plea Agreement, if

contested by the patties, shall be determined by the Court in an appropriate proceeding at which the

= Case 1:08-cv-00090-1 G-RHW Document 211-5 —_ Filed 12/14/09 Page 13 of 26

Case 1:06-cv-00912-[ G.JMP Document 2412.40 OOO ne wala enlace

Case 1:06-cr-00117-LG-JMR Document 7*SEALED* . Filed 12/07/2006 ‘Page 5 of 7

Defendant’s disclosures and documentary evidence shall be admissible and at which the United .
States shall-be required to establish a breach of the Plea Agreement by 2 preponderance of the
’ evidence, .

13. Binding Effect on this Federal District or Upon the District Attomey

“It is further understood that this Plea Agreement does not bind any other state or local
ptosecuting authorities or any othet federal district, except as otherwise provided herein; further,
this agreement does not bind the Attorney: General of the United States in regard to any matter, civil
ot criminal, involving the tax statutes of the United States.

44. Financial Obligations

It is further understood and specifically agreed to by the Defendant that, at the time of the
execution of this document of at the time her plea is entered, the Defendant will theri and there pay
over the special assessment of $100.00 per count required by Title 18, United States Code, § 3013, to
the Office of the United States District Court Cleric; the Defendant shall thereafter produce proof of
‘payment to the Government or to the U.S. Probation Office. If the Defendant is adjudged to be
indigent, payment of the special assessment at the time of the plea is waived, but the Defendant
agrees that it may be made payable first from any funds available to the Defendant while she is -
incarcerated. The Defendant understands and.agtees that, pursuant to Title 18, Uniited States Code,
§ 3613, whatever monetary penalties ate imposed by the Coutt willbe due and payable immediately
and subject to immediate enforcement by the United States as provided in § 3613. Furthermore, the
Defendant agrees to provide all of her financial information to the United States and the Probation
Office and, if requested, to participate in a pre-sentencing debtot’s examination. Tf the Court
imposes a schedule of payments, the Defendant understands that the schedule of payments is merely
a minimum schedule of payments and not the only method, nor 4 limitation upon the. methods, -
available to the United States to enforce the judgment. If the Defendant. is: incarcerated, the
Defendant agreés to participate in the Bureau of Prisons’ Inmate Financial Responsibility Program
' repardless of whether the Court specifically directs her participation, or imposes a schedule of
payments.

15, Purther Crimes

It is farther understood that should. the Defendant commit any farther crimes, this’ Plea
Agreement shall be deemed violated and she shall be subject to prosecution for any federal or state
ctiminal violation of which the Government has knowledge, and that any information provided by
her may be used against het.

16. - Waivers

The Defendant, knowing and understanding all of the matters aforesaid, including | the -
maximum possible penalty that could be imposed, and being advised of her tights’ to remain éilent,
to a ttial by jury, to subpoena witnesses on her own behalf, to confront any witnesses against her,
and to appeal her conviction and sentence, in exchange for the recommendations and concessions
made by the Government or the District Attomey ir in this Plea Agreement, hereby expressly waives ~
the above tights and the following: |

Case 1:08-cv-00090-LG-RHW Document 211-5 Filed 12/14/09 Page 14 of 26

Case 1:06-cv-00912-LG-JMR Document 212-19 Filed 12/10/2006 Fageoor/ |
Case 1:06-cr-00117-LG-JMR Document 7. *SEALED* Filed 12/07/2006 Page 6 of 7

a. _ The tight to appeal the conviction and sentence imposed in this case, or the manner
in which that sentence was imposed, on the grounds set forth in Title 18, United
States Code, § 3742, on amy ground, provided the sentence does not excéed the
maximum sentence allowed by the statute; and

b. —~ The tight to contest the conviction and -sentence.or the manner in which the

sentence was imposed in any. post-conviction proceeding, including but not limited

‘to a motion brought under Title 28, United States Code, § 2255, and any type of

' proceeding claiming to double jeopardy ot excessive penalty as a fesult of any
forfeiture ordered or to be otdered in this case; and

C. Any tight to seek attomey’s fees and/or costs under the Hyde Amendment, as ‘codified
- "at Title 18, United States Code, § 306A, and the Defendant acknowledges that the .
Government's position in the instant prosecution is not merely frivolous, yexations,
ot undertaken in bad faith; and

d. All rights, whether asserted directly or through a representative, to request of réceive
any departiient or agency of the United States any records pertaining to the .
investigation or prosecution of this case, including without limitation any records
that may be sought by het or het representative under the Freedom of Information
Act, set forth at Title 5, United States Code, § 552, or the Privacy Act of 1974, at,
Title 5, United States Code, § 552a.

j €. The Defendant further acknowledges and agrees that any factual issues regarding her

sentencing will be resolved by the sentencing judge under a preponderance of the
evidence standard, and the Defendant waives any right to a jury determination of
these sentencing issues. The Defendant further agrees that, in making its sentencing
decision, the District Court may consider any relevant evidence without tegatd to its’
admissibility under the Rules of Ewidence applicable at trial.

The Defendant waives these tights in exchange for the ‘ecommendation and
concessions made by the Government and the District Attorney in this. Plea
Agreement.

, 17. Future Contact with the Defendant

the Defendant and her attorney acknowledge that if forfeiture, restitution, .a fine, ot special
assessment, or any combination of these is ordered in the Defendant’s case, that this will require
_ regular contact with the Defendant duting any period of incatceration, probation, and supervised
release. Further, the Defendant and her attorney understand that it is essential that defense counsel
contact the Financial Litigation Unit of the Government immediately after sentencing in this case to
confirm in wtiting whether defense counsel will continue to represent the Defendant in this case and ..
in matters involving the collection of the financial obligations imposed by the Court. If the
Government does not teceive any written acknowledgment from defense counsel within two weeks
of entry of judgment in this case, the Government will presume that defetise counsel no longer
represents the Defendant and the Financial Litigation Unit ‘will communicate directly with the
Defendant tegatding collection of the financial obligations imposed by the Court, The Defendant
and her attorney understand and agree that such ditect contact with the Defendant shall not be

Case 1:08-cv-00090-LG-RHW Document 211-5 Filed 12/14/09 Page 15 of 26

EESF BOSNIA DR, SREP SEALE Filed d4SR720B6 “PRBS

. deemed an improper ex parte contact with the Defendant if defense counsel fails to notify the
Government of any continued legal representation within two weeks after the date of entry of the,
judgment in this case.

"18. mpl € nent

It is further understood that this Plea Agreement completely reflects all ptomises,
agreements, and conditions made by and among the Government, the District Attomey, and the
Defendant:

The Defendant and her Attorney declare that the terms sof this Plea Agrécmen have been:

READ TO OR BY HER;

EXPLAINED TO HER BY HER ATTORNEY; .
UNDERSTOOD BYHER;
VOLUNTARILY ACCEPTED BY HER; and
AGREED. TO AND ACCEPTED.BY HER.

Pon,

WITNESS CUR SIGNATURES, as set fotth below on December 6, 2006.

AF GOVERNMENT: FOR THE DEFENDANT:
T eos Au. ( 42 QO Sithicll f2-00- 06
Dunn Lampton , Date -° —_, Dedri YulonMaldwell Date

United States Attorn: Defendant
by: Jack Brooks Lacy, Jr.
Assistant United States Attomey

i i L le Les Aud

[2-6-2006

Lisa M. Krigstel) Date ‘Robert G. Harenski, Esq. ' Date
Abia ‘ ‘Attorney for Defendant
John Cotton Richmond - Date
Taal Attorney
Civil RY Division, Criminal Section
Ati ¢ Akon /E-O &- ~O sf

‘Cono Catanna Date

District Attorney

Second Circuit Court District

Case 1:08-cv-00090-LG-RHW Document 214-5—Fited4244/09-—Page-+6-6426—____———

Memorandum
Subject 7 _ Date
United States v. Regina Lynn Rhodes August 5, 2006
Criminal No. ,
To. From
James B. Halliday, Esq. Jack B. Lacy, Jr.
Post Office Box 6783 Assistant United States Attorney

Gulfport, Mississippi 39506
PLEA AGREEMENT

Regina Lynn Rhodes, the Defendant herein, and her Attorney, James B. Halliday,
have been notified that:

1. Defendant’s Obligations .

If the Defendant tenders a plea of guilty to a two-count criminal information to
be filed in this case, charging her with a Felony Violation of Deprivation of Rights.
under Color of Law under 18-U.S.C. § 242, and Misprision of Felony under 18 U.S.C.
§ 4, and if she fully cooperates with the Government and with the District Attorney of
Harrison County [District Attorney], Mississippi as set out in {’s 9 and 10;

2. Government’s Obligations

a. Thereafter, the United States Attorney for the Southern District of
Mississippi {U.S. Attorney’s Office] will. recommend that the Court accept the
defendant’s plea of guilty.

. b. The Defendant has timely notified the U.S. Attorney’s Office of her
intent to enter a plea of guilty. If the Defendant qualifies for a decrease under U.S.S.G.

§ 3E1.1(a), and if the Defendant’s. offense level determined prior to the operation of —

U.S.S.G. § 3E1.1(a) is a level 16 or greater, the U.S. Attorney’ s Office will move for

an additional one-level decrease in the guidelines i in accordance with U.S.S.G. §.

3El. (0).

Case 1:08-cv-00090-LG-RHW Document2i+-5—Filed42/14/409-—Page++6t26————_

c. Should the U.S. Attorney’s Office determine that the Defendant has
provided substantial assistance to law enforcement officials in an investigation or
prosecution other than the investigation and/or prosecution concerning the assault on
Jessie Lee Williams, Jr., at the Harrison County Correctional Facility on February 4, -
2006 and subsequent cover-up, and has fully complied with the understandings
specified in this Agreement, then the government may submit a motion for a reduction
in sentence pursuant to Rule 35 of the Federal Rules of Criminal Procedure at such time
as the Defendant’s cooperation is complete. It is understood that, even if such motion

“is filed, the sentence to be imposed upon the Defendant remains within the sole
discretion of the Court. The determination as to whether Defendant has provided
substantial assistance shall rest solely within the discretion.of the relevant law

. enforcement agencies involved in conjunction with the U.S. Attorney’s Office. The:
. Defendant's cooperation regarding the assault on Jessie Lee Williams, Jr., at the
_ Harrison County Correctional Facility Jail on February 4, 2006 and the subsequent
cover-up by law enforcement officers is expected as part of this plea agreement and
will not provide the basis for a motion for a reduction in sentence.

3. Counts of Conviction

It is understood that, as of the date of this plea agreement, the Defendant and her
attorney have indicated that the Defendant desires to plead guilty to both Counts 1 and
2 of the criminal information.

4. Sentence

_The Defendant understands that the penalty for the offense charged in Count 1
of the information, charging a violation of Title 18, United States Code, § 242, is aterm
of imprisonment of not more than ten (10) years; a term of supervised release of not
less than three (3) years; and a fine of up to $250,000.00. The Defendant further
understands that the penalty for the offense charged in Count 2 of the information,
charging a violation of Title 18, United States Code, § 4, is a term of imprisonment of
not more than three (3) years; a term of supervised release of not more than three (3)
years; and a finé of up to $250,000.00. In the aggregate, the defendant could be
sentenced to a term of imprisonment of up to thirteen (13) years; a term of supervised
release of not more than five (5) years; and a fine of up to $500,000.00. The Defendant
further understands that a term of supervised release will be imposed and that the term
will be in addition to any prison sentence she receives; further, if any of the terms of

2- .

Case 1:08-cv-00090-LG-RHW Documert24+-5—Fited4244/09—Page-ts-626———_——_

supervised release are violated, the Defendant can be returned to prison for the entire
term of supervised release, without credit for any time already served on the term of
supervised release prior to Defendant’s violation of those conditions. It is further
understood that the Court may require the Defendant to pay restitution in this matter
‘in accordance with applicable law. The Defendant further understands that she is liable
to make restitution for the full amount of the loss determined by the Court to constitute
relevant conduct, which amount is not limited to the count of conviction.

5. Stipulations

Defendant will plead guilty because she is in fact guilty of the charges contained
in Count One and Count Two of the Information. In pleading guilty, defendant admits
_ and stipulates to the following facts and that those facts establish her guilt beyond a

reasonable doubt:

Regina Lynn Rhodes is a former Harrison County Sheriff's Department
corrections officer at the Harrision County Adult Detention Center [hereinafter "Jail"].
Rhodes worked at the Jail from May, 2004, through February, 2006. Rhodes was.
permanently assigned to the Jail’s Booking area from in or about December, 2005,
through February, 2006. While assigned tothe Booking area, Rhodes was occasionally
under the direct: supervision of Ryan Michael Teel.

While she was assigned to the Booking area, Rhodes observed Teel and other
- corrections officers engage in a pattern of physical abuse of inmates at the Jail. More
. specifically, Teel and other corrections officers routinely participated i in striking,
punching, kicking, choking, and otherwise assaulting inmates in circumstances that did
not justify the use of force. Teel regularly encouraged other corrections officers
regarding their involvement in this conduct. Additionally, Teel and other corrections
officers submitted false, incomplete and misleading jail reports for the purpose of
covering up these assaults. Rhodes was aware that Teel and other corrections officers
were submitting false, incomplete and misleading jail reports to cover up uses of
unnecessary force and failed to report their criminal conduct.

This pattern of physical abuse included an assault by Teel, defendant Rhodes and
others, while acting under color of law, on pre-trial detainee Jessie Lee Williams, Jr.,
‘on February 4, 2006. During this assault, Teel committed numerous physical acts that
were not justified: uses of force. These acts included, but were not limited to, Teel

3.

Case 1:08-cv-00090-LG-RHW --Deeument 244-5—Filed 42/14/09-—Page-19-6f26-——_—__—_.

- striking, punching, kicking, choking and otherwise assaulting Jessie Lee Williams, Jr:,
in the head, neck and other areas. These acts were completed at a time when Jessie
Lee Williams, Jr. was compliant, when no use of force against Jessie Lee Williams, Jr.,
was justified. Additionally, Teel continued to assault Jessie Lee Williams, Jr., after
Williams was restrained, when no use of force against Williams was justified. Jessie |
Lee Williams, Jr. lapsed into unconsciousness shortly after these acts and died two
days later of trauma-related brain injuries.

Defendant Rhodes, while acting under color of law, participated in the assault -
on Jessie Lee Williams, Jr., on February 4, 2006, during the time that she knew that no
use of force was justified.. Defendant Rhodes repeatedly and forcefully struck Jessie
Lee Williams, Jr., on his neck, back, and legs while he was restrained. These strikes
caused "bodily injury” to Jessie Lee Williams, Jr., as that term is used in Title 18,
United States Code, Section 242.

Teel's actions, while acting under color of law, of repeatedly striking Jessie Lee
Williams, Jr., in the face and head when no use of force was justified, resulting in
bodily injury, and eventually, death, to Williams, constituted a felony pursuant to Title
18, United States Code, Section 242. Defendant Rhodes had knowledge of the.
commission. of that felony, as she personally observed Teel's actions. Defendant
Rhodes failed to notify an authority as soon as possible, and committed affirmative acts
to conceal the assaults committed by her, Teel and others, to wit: 1) Defendant Rhodes
wrote a report on or about February 5, 2006 in which she omitted the fact that Teel had
used unnecessary force while acting under color of law against Jessie Lee Williams, Jr.,.
resulting in bodily injury, and eventually, death; 2) Defendant Rhodes affirmatively
lied to agents with the Mississippi Bureau of Investigation on February 8, 2006. by
falsely claiming that there was no use of unnecessary force under color of law by.
herself, Teel, or any other officers against Jessie Lee Williams, Jr., on the night of
February 4, 2006 when she knew that unnecessary force had in fact been used by.
herself, Teel and other officers; and 3) Defendant Rhodes affirmatively lied to an agent
- of the Federal Bureau of Investigation on June 19, 2006 by falsely claiming that there
was no use of unnecessary force under color of law by herself, Teel, or any other |
officers against Jessie Lee Williams, Jr., on the night of February 4, 2006 when she
knew that unnecessary force had in fact been used by herself, Teel and other officers.

This statement of facts is provided solely to assist the Court in determining
whether a factual basis exists for defendant's plea of guilty. The statement of facts does

ho

Case 1:08-cv-00090-LG-RHW— Document 241.5—-FHEd £2 A109 RB G6-20 OF 26 amen

- not contain each and every fact known to the defendant and to the United States
concerning the defendant’s and/or others’ involvement in the offense conduct and other
matters..

6. Forfeitures None.

7. This Agreement Does NOT Bind the Court

It is further understood that the Court, in accord with the principles of Rule —
 11¢c)(1)(B) of the Federal Rules of Criminal Procedure, is not required to accept the
recommendation of the U.S. Attorney’s Office, but may sentence the defendant to the
maximum fine and imprisonment as provided by law, and the Government has no other
obligation in regard to sentencing than as stated in 14 2.

8. Determination of Sentencing Guidelines

It is further understood that the United States Sentencing Guidelines are advisory
only and that the Defendant and the Defendant’s attorney have discussed the fact that
the Court must review the Guidelines in reaching a decision as to the appropriate

-sentence in this case, but the Court may impose a sentence other than that indicated by
the Guidelines if the Court finds that another sentence would be more appropriate. The
Defendant acknowledges that she is not relying upon anyone’s calculation of a
particular Guidelines range for the offenses to which she is entering this plea, and
recognizes that the Court will make the final determination of the sentence and that she
may be sentenced up to the maximum penalties set forth above.

9, Willingness to Cooperate

It is further understood and specifically acknowledged by the Defendant that the
consideration for the action by the Government herein is Defendant’s representation, —
by execution of this Plea Agreement and otherwise, that the Defendant both can and

' will carry out the terms and conditions contained herein.

10. Terms of Cooperation

- Tt is farther understood that full cooperation referred to in § 1 includes: (a)
immediate. and truthful disclosure of all matters involved in these charges to the

5.

Case 1:08-cv-00090-LG-RHW Document 211-5 Filed 12/14/09 Page 21 of 26----

appropriate federal agents; (b) truthful and complete disclosure of other matters
involving possible violations of federal law to the appropriate federal agency as
- directed by the U.S. Attorney’s Office; (c) truthful testimony at any trial involving any
matter arising from these charges, in federal or in state court; (d) truthful testimony
before any Grand Jury or at any trial in this or any other district on any matter about
which the Defendant has knowledge and which is deemed pertinent to the U.S. —
Attorney’s Office; (e) full cooperation with the U.S. Attorney’s Office, with any law
enforcement agency designated by the U.S. Attorney’s Office, and/or the District
. Attorney’s office; (f} attendance at all meetings at which the U.S. Attorney or the.
District Attorney requests her presence; (g) provision to the U.S. Attorney’s Office,
upon request, of any document, record, or other tangible evidence relating to matters
about which the U.S. Attorney’s Office, any designated law enforcement agency,
and/or the District Attorney i inquires of her; and (h) an obligation on the part of the
Defendant to commit no further crimes whatsoever.

11. Limits on Further Prosecution

It is further understood that the U.S. Attorney’s Office and the District Attorney
will seek no further criminal prosecution of the Defendant for any acts or conduct by
the Defendant as ofthe date of this Agreement, arising out of any event covered by the
criminal information referenced in J 1, if the Defendant voluntarily, truthfully, and
completely discloses all information and knowledge that the Defendant possesses.
Should the Defendant not voluntarily and completely disclose, then as to that matter,
the U.S. Attorney’s Office and/or the District Attorney is free to seek prosecution of
the Defendant. This Plea Agreement does not provide any protection against
prosecution for any crimes except as set forth above.

12. Breach of this Agreement

It is further understood that should the Defendant fail or refuse as to any part of
this Plea Agreement or commit any other crimes, the representations by the United
States or the District Attorney in fs 2 and 11 above are rescinded, and the Defendant’s
breach shall be considered sufficient grounds for the pursuit of any prosecutions which
the U.S. Attorney’s Office or the District Attorney has not sought as a result of this
Plea Agreement, including any such prosecutions which might! have been dismissed or
otherwise barred by the Double Jeopardy Clause.

Case 1:08-cv-00090-LG-RHW Document 211-5 Filed 12/14/09 Page 22 of 26-

If the defendant fails to fulfill her + obligations under this plea agreement, the
United States may seek release from any or all ‘its obligations under this plea
agreement. Ifthe defendant fails to fulfill her obligations under this plea agreement, the
defendant shall assert no claim under the United States Constitution, any statute, Rule
410 of the Federal Rules of Evidence, Rule 11(e)(6) of the Federal Rules of Criminal
Procedure, or any other federal rule, that defendant's statements pursuant to this
agreement or any leads derived therefrom, should be suppressed or are inadmissible.
Whether the defendant has breached any provision of this plea agreement, if contested
by the parties, shall be determined by the Court in an appropriate proceeding at which
. the defendant's disclosures and documentary evidence shall be admissible and at which
the United States shall be required to establish a breach of the plea agreement by a
preponderance of the evidence.

13. Binding Effect on this. Federal District or upon the District Attorney

It is further understood that this Plea Agreement does not bind any other state |
or local prosecuting authorities or any other federal district, except as otherwise.
provided herein; further, this agreement does not bind the Attorney General of the
United States in regard to any matter, civil or criminal, involving the tax statutes of the
United States.

14. Financial Obligations

. tis further understood and specifically agreed to by the Defendant that, at the
time of the execution of this document or at the time her plea is entered, the Defendant
. will then and there pay over the special assessment of $100.00 per count required by
Title 18, United States Code, § 3013, to the Office of the United States District Court
‘Clerk; the Defendant shall thereafter produce proof of payment to the U.S. Attorney’s
Office or to the U.S. Probation Office. If the defendant is adjudged to be indigent,
- payment of the special assessment at the time of the plea is waived, but the Defendant
agrees that it may be made payable first. from any funds available to the Defendant
while she is incarcerated. The Defendant understands and agrees that, pursuant to Title
18, United States Code, § 3613, whatever monetary penalties are imposed by the Court
will be due and payable immediately and subject to immediate enforcement by the
United States as provided in § 3613. Furthermore, the Defendant agrees to provide all
of her financial information to the United States and the Probation Office and, if
requested, to participate in a pre-sentencing debtor’s examination. Ifthe Court imposes .

-7-

Case 1:08-cv-00090-LG-RHW-—Decument24+-5—Filed 4244/09 —Page-23-9f 26—_____

a schedule of payments, the Defendant understands that the schedule of payments is
merely a minimum schedule of payments and not the only method, nor a limitation upon
the methods, available to the United States to enforce the judgment. If the Defendant
is incarcerated, the Defendant agrees to participate in the Bureau of Prisons’ Inmate
Financial Responsibility Program regardless of whether the Court specifically directs —
her participation or imposes a schedule of payments.

15. Further Crimes

It is further understood that should the Defendant commit any further crimes, this

Plea Agreement shall be deemed violated and she shall be subject to prosecution for

- any federal or state criminal violation of which this office has knowledge, and that any
information provided by her may be used against her.

16. Waivers .

The Defendant, knowing and understanding all of the matters aforesaid,
including the maximum possible penalty which could be imposed, and being advised
of her rights to remain silent, to a trial by jury, to subpoena witnesses on her own

‘behalf, to confront any witnesses against her, and to appeal her conviction and
sentence, in exchange for the recommendations and concessions made by the U.S.
Attorney or the District Attorney in this plea agreement, hereby expressly waives the
above rights and the following: —

a. the right to appeal the conviction and sentence imposed in this case, or
the manner in which that sentence was imposed, on the grounds set forth in Title 18,
- United States Code, § 3742, on any ground whatsoever; and

-b. the right to contest the conviction and sentence or the manner in which

_ the sentence was imposed in any post-conviction proceeding, including but not limited

to a motion brought under Title 28, United States Code, § 2255, and any type of

proceeding claiming double jeopardy or excessive penalty « as a result of any forfeiture
ordered or to be ordered in this case; and

c. any right to seek attorney’s fees and/or costs under the Hyde
Amendment, as codified in Title 18, United States Code, § 3006A, and the Defendant
. acknowledges that the government’s position in the instant prosecution is not merely

-8-

Case 1:08-cv-00090-LG-RHW. --Document211-5 Filed 12/14/09 Page 24 of 26

frivolous, vexatious, or undertaken in bad faith; and :

d. all rights, whether asserted directly or through a representative, to

' request or receive from any department or agency of the United States any records
pertaining to the investigation or prosecution of this case, including without limitation

- any records that may be sought by her or by her representative under the Freedom of
Information Act, set forth at Title 5, United States Code, § 552, or the Privacy Act of
1974, at Title 5, United States Code, § 552a.

__e. The defendant further acknowledges and agrees that any factual issues
regarding her sentencing will be resolved by the sentencing judge under a
preponderance of the evidence standard, and the Defendant waives any right to a jury
determination of these sentencing issues. The Defendant further agrees that, in making
its sentencing decision, the District Court may consider any relevant evidence without
regard to its admissibility under the Rules of Evidence applicable at trial.

The Defendant waives these rights in exchange for the recommendations
and concessions. made by the United States Attorney and the District Attorney in
this agreement.

17, Future Contact with the Defendant

The Defendant and her attorney acknowledge that if forfeiture, restitution, a fine,
or special assessment, or any combination of these is ordered in the Defendant’s case,
that this will require regular contact with the Defendant during any period of
incarceration, probation, and supervised release. Further, the. Defendant and her |
attorney understand that it is essential that defense counsel contact the Financial
Litigation Unit of the U.S. Attorney’s Office immediately after sentencing in this case
to confirm in writing whether defense counsel will continue to represent the Defendant
in this case and in matters involving the collection of the financial obligations imposed
by the Court. If the U.S. Attorney’s Office does not receive any written
acknowledgment from defense counsel within two weeks of entry of judgment in this
case, the U.S. Attorney will presume that defense counsel no longer represents the
Defendant and the Financial Litigation Unit will communicate directly with the
Defendant regarding collection of the financial obligations imposed by the Court. The
Defendant and her attorney understand and agree that such direct. contact with the
Defendant shall not be deemed an improper ex parte contact with the Defendant if

-9..

Case 1:08-cv-00090-LG-RHW Document 211-5 Filed 12/14/09 Page 25 of 26

defense counsel fails to notify the US. Attorney’s Office of any continued legal
representation within two weeks after the date of entry of the judgment in this case.

18. Complete Agreement

It is further understood that this Plea Agreement completely reflects all
promises, agreements, and conditions made by and among the United States Attorney’s _
Office ‘for the Southern District of Mississippi, the District Attorney, and the

‘Defendant.

Defendant and her attorney of record declare that the terms of this plea:
agreement have been:

1. READ BY OR TO HER; 2. EXPLAINED TO HER BY HER -
ATTORNEY; 3.UNDERSTOOD BY HER; 4. VOLUNTARILY ACCEPTED
_ BY HER; and 5. AGREED TO AND ACCEPTED BY HER. .

WITNESS OUR SIGNATURES, as set forth below on August ~7 te 2006:
FOR THE UNITED STATES: » _ FOR THE DEFENDANT:
DUNN LAMPTON | Bn a BO

. Régina Lynn Rhodes
Sew =>. | Dna ‘Pe Defendant
Jack B. Lacy, Jr. <3
Assistant United States Attorney i L\ (C' aa

James B.J Halliday .
WAN J. KIM - Attorney for Defendant ahodes

Assistant Attorney General for
Civil Rights me / onda) i

Donald J. Rafferty
Attomey for erty Rhodes

- Senior Litigation Counsel

-10-

Case 1:08-cv-00090-LG-RHW Document 211-5 Filed -12/14/00__ Page 26-0126

- John Cotton Richmond
Trial Attorney

FOR THE STATE OF MISSISSIPPI:

Cono A. Caranna
District Attorney for Harrison County

-i1-

